                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE
                               AT GREENEVILLE

UNITED STATES OF AMERICA,                       )
                                                )
v.                                              )      No.:    2:11-CR-045
                                                )
JOHN THOMAS ROSENBALM                           )

                           MEMORANDUM AND ORDER

      This criminal case is before the court on the defendant’s pro se motion for

sentence reduction [doc. 186], which has been rendered moot by the supplemental motion

for sentence reduction filed by counsel [doc. 188]. Through counsel, the defendant asks

for a reduction in his term of imprisonment pursuant to 18 U.S.C. § 3582(c)(2) and in

accordance with Amendments 782 and 788 to the United States Sentencing Guidelines

Manual (“U.S.S.G.”). The government has responded [doc. 189], deferring to the court’s

discretion whether and to what extent to grant any such reduction, subject to the

limitations of 18 U.S.C. § 3582(c)(2) and U.S.S.G. § 1B1.10.

I.    Authority

      “Federal courts are forbidden, as a general matter, to modify a term of

imprisonment once it has been imposed, but the rule of finality is subject to a few narrow

exceptions.” Freeman v. United States, 131 S. Ct. 2685, 2690 (2011) (internal citation

and quotation marks omitted).      One such exception is identified in 18 U.S.C. §

3582(c)(2):




Case 2:11-cr-00045-RLJ      Document 190 Filed 07/20/15         Page 1 of 5    PageID #:
                                        619
      [I]n the case of a defendant who has been sentenced to a term of
      imprisonment based on a sentencing range that has subsequently been
      lowered by the Sentencing Commission . . . , the court may reduce the term
      of imprisonment, after considering the factors set forth in [18 U.S.C.]
      section 3553(a) to the extent that they are applicable, if such a reduction is
      consistent with applicable policy statements issued by the Sentencing
      Commission.

If the court finds a defendant eligible for sentence reduction, “[t]he court may then

‘consider whether the authorized reduction is warranted, either in whole or in part,

according to the factors set forth in § 3553(a).’” United States v. Thompson, 714 F.3d

946, 949 (6th Cir. 2013) (quoting Dillon v. United States, 560 U.S. 817, 826 (2010)).

      In determining whether a defendant has been sentenced to a term of imprisonment

based on a sentencing range that has subsequently been lowered by the Sentencing

Commission, the court must first identify “the amended guideline range that would have

been applicable to the defendant had the relevant amendment been in effect at the time of

the initial sentencing.” Dillon, 560 U.S. at 827 (internal quotation marks and citation

omitted); see also U.S. Sentencing Guidelines Manual § 1B1.10(b)(1) (2014).

Amendment 782, which became effective on November 1, 2014, revised the guidelines

applicable to drug-trafficking offenses by reducing the offense levels assigned to the drug

and chemical quantities described in guidelines 2D1.1 and 2D1.11. See U.S. Sentencing

Guidelines Manual app. C, amend. 782 (2014). Amendment 788, which also became

effective on November 1, 2014, identified Amendment 782 as retroactive.           See id.,

amend. 788.




                                            2


Case 2:11-cr-00045-RLJ      Document 190 Filed 07/20/15          Page 2 of 5    PageID #:
                                        620
       Other than substituting Amendment 782 for the corresponding provision

applicable when the defendant was originally sentenced, the court “shall leave all other

guideline application decisions unaffected.” See U.S. Sentencing Guidelines Manual §

1B1.10(b)(1) (2014). The court “shall not” reduce a defendant’s term of imprisonment

to a term “less than the minimum of the amended guideline range,” nor to a term “less

than the term of imprisonment the defendant has already served.” Id. § 1B1.10(b)(2)(A),

(C). 1 In addition, the commentary to guideline 1B1.10 provides that a court must also

consider the § 3553(a) sentencing factors and the danger to the public created by any

reduction in a defendant’s sentence. See id. cmt. n.1(B). A court may further consider a

defendant’s post-sentencing conduct. See id.

II.    Factual Background

       By judgment dated March 22, 2012, this court sentenced the defendant to a term of

imprisonment of 87 months as to Count One (conspiracy to manufacture

methamphetamine). The defendant’s guideline range was 87 to 108 months, based on a

total offense level of 27 and a criminal history category of III. The offense of conviction

carried a statutorily-required 60-month mandatory minimum sentence. According to the

Bureau of Prisons, the defendant is presently scheduled for release on August 23, 2017.




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          Guideline 1B1.10 provides one exception to the rule that a defendant may not receive a
sentence below the amended guideline range—namely, if the defendant originally received a
below-guideline sentence “pursuant to a government motion to reflect the defendant’s substantial
assistance to authorities.” Id. § 1B1.10(b)(2)(B). The government did not file a substantial
assistance motion as to the present defendant.
                                               3


Case 2:11-cr-00045-RLJ        Document 190 Filed 07/20/15           Page 3 of 5     PageID #:
                                          621
III.   Analysis

       Applying Amendment 782, the defendant’s new guideline range is 70 to 87

months, based on a total offense level of 25 and a criminal history category of III. Thus,

the defendant was originally sentenced to a term of imprisonment based on a sentencing

range that has subsequently been lowered by the Sentencing Commission. Applying

U.S.S.G § 1B1.10(c), a corresponding 3553(e) departure may be applied without regard

to the mandatory minimum sentence.

       The court has considered the filings in this case, along with the relevant 3553(a)

factors. Additionally, the court has considered the danger to the public as the result of

any reduction in the defendant’s sentence, the seriousness of the defendant’s offense, the

defendant’s post-sentencing conduct, and the need to protect the public. See id. § 1B1.10

cmt. n.1(B)(ii). Having done so, the court finds that the defendant should be granted a

sentence reduction to a term of imprisonment of 70 months.

IV.    Conclusion

       For the reasons stated herein, the defendant’s pro se motion [doc. 186] is

DENIED AS MOOT, and the defendant’s motion filed through counsel [doc. 188] is

GRANTED. The defendant’s term of imprisonment is reduced to 70 months. If this

sentence is less than the amount of time the defendant has already served, the sentence

shall instead be reduced to “time served.” See id. § 1B1.10(b)(2)(C).




                                            4


Case 2:11-cr-00045-RLJ      Document 190 Filed 07/20/15         Page 4 of 5    PageID #:
                                        622
      Except as provided above, all provisions of the judgment dated March 22, 2012,

shall remain in effect. The effective date of this order is November 2, 2015. See id. §

1B1.10(e)(1).

                IT IS SO ORDERED.

                                                     ENTER:



                                                            s/ Leon Jordan
                                                      United States District Judge




                                          5


Case 2:11-cr-00045-RLJ     Document 190 Filed 07/20/15        Page 5 of 5    PageID #:
                                       623
